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 9
                               UNITED STATES DISTRICT COURT
10
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
       ERNEST DEWAYNE JONES,                     Case No. CV-09-2158-CJC
12                Petitioner,
                                                 DEATH PENALTY CASE
13             v.
14                                               EXHIBITS IN SUPPORT OF
15                                               PETITIONER’S OPENING BRIEF
       KEVIN CHAPPELL, Warden of
                                                 ON CLAIM 27
16     California State Prison at San
       Quentin,
17                                               VOLUME 2
                           Respondent.
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   Lancaster et al., v. James E. Tilton et al.
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